           Case 1:14-cv-02788-MHC Document 8 Filed 09/08/14 Page 1 of 4




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

GEORGIA TASMAN, LLC,

                 Plaintiff,
                                                 Case No.1:14-CV-02788-SCJ
      v.
NEIL ESINER,

                 Defendant.




                 CERTIFICATE OF INTERTESTED PERSONS
                AND CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Local Rule

3.3., Defendant Neil Eisner hereby files his Certificate of Interested Persons and

Corporate Disclosure Statement.


(1) The undersigned counsel of record for Defendant Neil Eisner to this action

certifies that the following is a full and complete list of all parties in this action,

including any parent corporation and any publicly held corporation that owns 10%

or more of the stock of a party:

(a)   Plaintiff Georgia Tasman, LLC

(b)   Defendant Neil Eisner.
         Case 1:14-cv-02788-MHC Document 8 Filed 09/08/14 Page 2 of 4




(2) The undersigned further certifies that the following is a full and complete list

of all other persons, associations, firms, partnerships, or corporations having either

a financial interest in or other interest which could be substantially affected by the

outcome of this particular case:

      Residential Capital Management, LLC, Lance Popp, Andy Capps, Albo

Antenucci, Jeffrey Britz, Colin Brechbill, and Gregory Alan Harper.

(3) The undersigned further certifies that the following is a full and complete list

of all persons serving as attorneys for the Defendant Neil Eisner in this proceeding:

      Counsel for Defendant Neil Eisner:

      ANDERSEN, TATE & CARR, P.C.
      Thomas T. Tate
      Robert D. Thomas
      Graham K. Brantley
      One Sugarloaf Centre
      1960 Satellite Boulevard, Suite 4000
      Duluth, Georgia 30097
      (770) 822-0900 | Phone
      (770) 822-9680 | Fax


      Submitted this 8th day of September, 2014.




                                           2
        Case 1:14-cv-02788-MHC Document 8 Filed 09/08/14 Page 3 of 4




                                   ANDERSEN, TATE & CARR, P.C.


                                   /s/ Thomas T. Tate
                                   Thomas T. Tate
                                   Georgia Bar No. 698879
                                   ttate@atclawfirm.com
                                   Robert D. Thomas
                                   Georgia Bar No. 278646
                                   rthomas@atclawfirm.com
                                   Graham T. Brantley
                                   Georgia Bar No. 942600
                                   gbrantley@atclawfirm.com
                                   Attorneys for Defendant
                                   Neil Eisner

One Sugarloaf Centre
Suite 4000
1960 Satellite Boulevard
Duluth, Georgia 30097
(770) 822-0900 | Phone
(770) 822-9680 | Fax




                                     3
            Case 1:14-cv-02788-MHC Document 8 Filed 09/08/14 Page 4 of 4




                          CERTIFICATE OF SERVICE

        I hereby certify that I have this date electronically filed the foregoing

Certificate of Interested Persons and Corporate Disclosure Statement with the

Clerk of the Court for filing and uploading to the CM/ECF system, which will send

notice to the counsel of record listed below:

Schuyler Elliott, Esq.
2024 Beaver Ruin Road
Norcross, Georgia 30071


        This 8th day of September, 2014.



                                       ANDERSEN, TATE & CARR, P.C.


                                       /s/ Thomas T. Tate
                                       Thomas T. Tate
                                       Georgia Bar No. 698879
                                       ttate@atclawfirm.com
                                       Attorney for Defendant
                                       Neil Eisner
2156096_1




                                           4
